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                                                                             FILED
                                                                   U .S . DISTRICT COUR T
                                                                       AUGUSTA DIV.
                  IN THE UNITED STATES DISTRICT COURT
                                                 2M ss FE B - I                  AN 9: 0 b
                 FOR THE SOUTHERN DISTRICT OF GEORII A

                                AUGUSTA DIVISION                C±E "
                                                                    SD . DiS T. O GAS
LARRY ALBERT BUSH,

              Movant,

       V.                                           CV 105-196
                                                    (CR 197-28)
UNITED STATES OF AMERICA,

              Respondent.



                                       ORDE R


       After a careful, de novo review of the file, the Court concurs with the Magistrate

Judge's Report and Recommendation, to which no objections have been filed . Accordingly,

the Report and Recommendation of the Magistrate Judge is ADOPTED as the opinion of

the Court. Movant's Title 28, United States Code, Section 2255 motion is DENIED and thi s

civil action is CLOSED .

       SO ORDERED this Jd of February, 2006 , at Augusta,
